




Filed 12/7/17 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2017 ND 275







State of North Dakota, 		Plaintiff and Appellee



v.



James Jarrel Vann, 		Defendant and Appellant







No. 20170171







Appeal from the District Court of Burleigh County, South Central Judicial District, the Honorable Sonna M. Anderson, Judge.



AFFIRMED.



Per Curiam.



Ryan A. Keefe (argued), Assistant State’s Attorney, and Marina Spahr (appeared), Assistant State’s Attorney, Bismarck, ND, for plaintiff and appellee.



James R. Loraas, Bismarck, ND, for defendant and appellant.

State v. Vann

No. 20170171



Per Curiam.

[¶1]	
James Vann appealed from a judgment entered after a jury found him guilty of four counts of terrorizing under N.D.C.C. § 12.1-17-04(1). &nbsp;Vann argues the evidence was insufficient to sustain the guilty verdicts for terrorizing, because there was insufficient evidence that he intended to place other persons in fear of their life or he recklessly disregarded the risk of causing that fear and there was insufficient evidence that he threatened to commit a crime of violence or an act dangerous to human life. &nbsp;We conclude the evidence, viewed in the light most favorable to the verdicts, is sufficient to support the convictions for all four counts of terrorizing, and we affirm under N.D.R.App.P. 35.1(a)(3).

[¶2]	Gerald W. VandeWalle, C.J.

Jerod E. Tufte

Daniel J. Crothers

Lisa Fair McEvers

Jon J. Jensen




